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                         NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


       Short Title: UNITED STATES v. STEVEN PEREZ                            _____             Docket No.: 24-162 ________

       Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

       Name: KENDRA L. HUTCHINSON, ESQ.

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       Appearance for: Defendant-Appellant
                                                               (party/designation)
       Select One:
     □ G Substitute counsel (replacing lead counsel:
                                                               (name/firm)
                                                                                                                         )



     □
     G Substitute counsel (replacing other counsel:
                                                               (name/firm)
                                                                             _______                                     )


     G Additional counsel (co-counsel with: BARRY D. LEIWANT, ESQ.
     □
     ✔                                                                                                                   )
                                                       (name/firm)

     □
     G Amicus (in support of:
                                                               (party/designation)
                                                                                                                         )




                                                          CERTIFICATION
       I certify that:

      □
      ✔
      G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

       my admission on JANUARY 2022                                                                                    OR

     □
     G I applied for admission on                                                                                        .


       Signature of Counsel:     .HQGUD/+XWFKLQVRQ
       Type or Print Name: KENDRA L. HUTCHINSON
